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13    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
      UNITED STATES OF AMERICA,                SA CR No. 19-061-JVS
17
                 Plaintiff,                    GOVERNMENT’S NOTICE REGARDING
18                                             SUMMARY EXHIBITS DISCLOSED AS
                       v.                      TRIAL EXHIBITS 457 AND 460-468;
19                                             EXHIBIT A-C
      MICHAEL JOHN AVENATTI,
20
                 Defendant.
21

22

23          Plaintiff United States of America, by and through its counsel

24    of record, the Acting United States Attorney for the Central District

25    of California and Assistant United States Attorneys Brett A. Sagel

26    and Alexander C.K. Wyman, hereby files its Notice Regarding Summary

27    Exhibits Disclosed as Trial Exhibits 457 and 460-468.

28
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1           This Notice is based upon the attached memorandum of points and

2     authorities, the attached exhibits, the files and records in this

3     case, and such further evidence and argument as the Court may permit.

4      Dated: August 3, 2021                Respectfully submitted,

5                                           TRACY L. WILKISON
                                            Acting United States Attorney
6
                                            SCOTT M. GARRINGER
7                                           Assistant United States Attorney
                                            Chief, Criminal Division
8

9                                                 /s/
                                            BRETT A. SAGEL
10                                          ALEXANDER C.K. WYMAN
                                            Assistant United States Attorneys
11
                                            Attorneys for Plaintiff
12                                          UNITED STATES OF AMERICA

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2           The government has disclosed to the defense summary exhibits

3     that it intends to introduce, and offer for admission pursuant to

4     Federal Rule of Evidence 1006, through its summary witness, IRS-CI

5     Special Agent Steve Bellis.       Specifically, these exhibits are Trial

6     Exhibits 457 and 460 through 468, and they are based on business

7     records that have long since been produced to the defense.            Based on

8     the current pace of trial and remaining witnesses to be called in the

9     government’s case-in-chief, the government does not expect Special
10    Agent Bellis to testify prior to August 10, 2021.
11          On August 2, 2021, the government sent the defense a detailed

12    letter identifying the bates numbers of the voluminous bank records

13    and toll records that form the basis of those charts, as well as the

14    custodian-of-record declarations that correspond to the bank and

15    phone records.     (Ex. A.)   Because the custodian declarations for all

16    but one of the bank records have been marked as trial exhibits (and

17    have already been found to be sufficient by the Court in admitting

18    bank records during trial), the government identified the custodian

19    declarations for those records by their Trial Exhibit numbers and

20    corresponding page numbers.       (Id.)   The custodian declarations

21    supporting the phone records and one of the bank records (from Union

22    Bank) are not identified as trial exhibits, so they were identified

23    by bates number, and they are also attached hereto as Exhibit B.

24          As part of this filing, the government is lodging with the Court

25    (and providing to the defense) as Exhibit C a disk with all of the

26    business records listed in the attached correspondence (Exhibit A)

27    that support the summary exhibits, along with the corresponding

28    custodian declarations.       At the Court’s request, the government will
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1     also provide printed copies of the business records, but due to their

2     voluminous nature the government has not done so at this time.               For

3     the Court’s convenience, the bates ranges and corresponding custodian

4     declarations identified by the government are reproduced below:

5                                       Exhibit 457

6        Bates Numbers of Underlying              Bates Numbers of Custodian
         Documents                                Declarations
7
         USAO_00025810                            Trial   Exhibit   394,   page 2
8        USAO_00025814                            Trial   Exhibit   394,   page 2
9        USAO_00028271                            Trial   Exhibit   394,   page 2
         USAO_00029628                            Trial   Exhibit   394,   page 2
10
         USAO_00029887                            Trial   Exhibit   394,   page 2
11       USAO_00029905                            Trial   Exhibit   394,   page 2
12       USAO_00029909                            Trial   Exhibit   394,   page 2
         USAO_00042603                            Trial   Exhibit   397,   pages 3–4
13
         USAO_00042715                            Trial   Exhibit   397,   pages 3–4
14       USAO_00033123                            Trial   Exhibit   394,   page 2
15       USAO_00033130                            Trial   Exhibit   394,   pages 3–4

16
                                        Exhibit 460
17
         Bates Numbers of Underlying              Bates Numbers of Custodian
18       Documents                                Declarations
19       USAO_00026565                            Trial Exhibit 394, page 2

20       USAO_00026583                            Trial Exhibit 394, page 2

21       USAO_00026586                            Trial Exhibit 394, page 2

22       USAO_00026590                            Trial Exhibit 394, page 2

23       USAO_00026598                            Trial Exhibit 394, page 2

24       USAO_00026603                            Trial Exhibit 394, page 2

25       USAO_00026610                            Trial Exhibit 394, page 2

26       USAO_00026632                            Trial Exhibit 394, page 2

27       USAO_00026655                            Trial Exhibit 394, page 2
28

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1        Bates Numbers of Underlying              Bates Numbers of Custodian
         Documents                                Declarations
2
         USAO_00026690                            Trial Exhibit 394, page 2
3
         USAO_00026702                            Trial Exhibit 394, page 2
4
         USAO_00026707                            Trial Exhibit 394, page 2
5
         USAO_00026715                            Trial Exhibit 394, page 2
6
         USAO_00026717                            Trial Exhibit 394, page 2
7
         USAO_00026744                            Trial Exhibit 394, page 2
8
         USAO_00026763                            Trial Exhibit 394, page 2
9
         USAO_00026777                            Trial Exhibit 394, page 2
10
         USAO_00026814                            Trial Exhibit 394, page 2
11
         USAO_00026835                            Trial Exhibit 394, page 2
12
         USAO_00026842                            Trial Exhibit 394, page 2
13
         USAO_00026850                            Trial Exhibit 394, page 2
14
         USAO_00026918                            Trial Exhibit 394, page 2
15
         USAO_00026931                            Trial Exhibit 394, page 2
16
         USAO_00026944                            Trial Exhibit 394, page 2
17
         USAO_00026959                            Trial Exhibit 394, page 2
18
         USAO_00026966                            Trial Exhibit 394, page 2
19
         USAO_00026970                            Trial Exhibit 394, page 2
20
         USAO_00026975                            Trial Exhibit 394, page 2
21
         USAO_00026979                            Trial Exhibit 394, page 2
22
         USAO_00026981                            Trial Exhibit 394, page 2
23
         USAO_00026987                            Trial Exhibit 394, page 2
24
         USAO_00026994                            Trial Exhibit 394, page 2
25

26       USAO_00027005                            Trial Exhibit 394, page 2

27       USAO_00027051                            Trial Exhibit 394, page 2

28       USAO_00027055                            Trial Exhibit 394, page 2

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1        Bates Numbers of Underlying              Bates Numbers of Custodian
         Documents                                Declarations
2
         USAO_00027091                            Trial Exhibit 394, page 2
3
         USAO_00027096                            Trial Exhibit 394, page 2
4
         USAO_00027100                            Trial Exhibit 394, page 2
5
         USAO_00027106                            Trial Exhibit 394, page 2
6
         USAO_00027112                            Trial Exhibit 394, page 2
7
         USAO_00027115                            Trial Exhibit 394, page 2
8
         USAO_00027118                            Trial Exhibit 394, page 2
9
         USAO_00027124                            Trial Exhibit 394, page 2
10
         USAO_00027138                            Trial Exhibit 394, page 2
11
         USAO_00027140                            Trial Exhibit 394, page 2
12
         USAO_00027143                            Trial Exhibit 394, page 2
13
         USAO_00027169                            Trial Exhibit 394, page 2
14
         USAO_00027202                            Trial Exhibit 394, page 2
15
         USAO_00029622                            Trial Exhibit 394, page 2
16
         USAO_00029628                            Trial Exhibit 394, page 2
17
         USAO_00029630                            Trial Exhibit 394, page 2
18
         USAO_00029881                            Trial Exhibit 394, page 2
19
         USAO_00029883                            Trial Exhibit 394, page 2
20
         USAO_00029887                            Trial Exhibit 394, page 2
21
         USAO_00029889                            Trial Exhibit 394, page 2
22
         USAO_00029895                            Trial Exhibit 394, page 2
23
         USAO_00029899                            Trial Exhibit 394, page 2
24
         USAO_00029905                            Trial Exhibit 394, page 2
25

26       USAO_00029909                            Trial Exhibit 394, page 2

27       USAO_00033123                            Trial Exhibit 394, page 2

28       USAO_00033130                            Trial Exhibit 394, pages 3–4

                                              4
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1        Bates Numbers of Underlying              Bates Numbers of Custodian
         Documents                                Declarations
2
         USAO_00033291                            Trial Exhibit 394, pages 3–4
3
         USAO_00033301                            Trial Exhibit 394, pages 3–4
4
         USAO_00034133                            Trial Exhibit 394, pages 3–4
5
         USAO_00034139                            Trial Exhibit 394, pages 3–4
6
         USAO_00042580                            Trial Exhibit 397, pages 3–4
7
         USAO_00042712                            Trial Exhibit 397, pages 3–4
8
         USAO_00042795                            Trial Exhibit 397, pages 3–4
9
10
                                        Exhibit 461
11
         Bates Numbers of Underlying              Bates Numbers of Custodian
12       Documents                                Declarations
         USAO_00024592                            Trial Exhibit 394, page 2
13
         USAO_00024607                            Trial Exhibit 394, page 2
14

15       USAO_00024608                            Trial Exhibit 394, page 2

16       USAO_00024629                            Trial Exhibit 394, page 2

17       USAO_00025039                            Trial Exhibit 394, page 2

18       USAO_00025041                            Trial Exhibit 394, page 2

19       USAO_00025051                            Trial Exhibit 394, page 2

20       USAO_00025996                            Trial Exhibit 394, page 2

21       USAO_00029580                            Trial Exhibit 394, page 2

22       USAO_00029594                            Trial Exhibit 394, page 2

23       USAO_00029838                            Trial Exhibit 394, page 2

24       USAO_00029841                            Trial Exhibit 394, page 2

25       USAO_00029844                            Trial Exhibit 394, page 2

26       USAO_00029853                            Trial Exhibit 394, page 2

27       USAO_00029858                            Trial Exhibit 394, page 2
28

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1        Bates Numbers of Underlying              Bates Numbers of Custodian
         Documents                                Declarations
2
         USAO_00029859                            Trial Exhibit 394, page 2
3
         USAO_00029905                            Trial Exhibit 394, page 2
4
         USAO_00033123                            Trial   Exhibit   394,   page 2
5        USAO_00033130                            Trial   Exhibit   394,   pages 3–4
6        USAO_00034145                            Trial   Exhibit   394,   pages 3–4
         USAO_00042527                            Trial   Exhibit   397,   pages 1–2
7
         USAO_00042702                            Trial Exhibit 397, pages 3–4
8
         USAO_00042706                            Trial Exhibit 397, pages 3–4
9
         USAO_00163767                            USAO_00163714-USAO_00163715
10

11
                                     Exhibits 462–468
12
         Bates Numbers of Underlying              Bates Numbers of Custodian
13       Documents                                Declarations
14       USAO_00009841-USAO_00009881              USAO_00009811 and

15                                                USAO_00011126

16       USAO_00009916-USAO_00010597              USAO_00009811 and

17                                                USAO_00011126

18       USAO_00135176                            USAO_0123134-USAO_00123135

19       USAO_00135177                            USAO_0123134-USAO_00123135
20       USAO_00135175                            USAO_0123134-USAO_00123135
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                       EXHIBIT A
Case 8:19-cr-00061-JVS Document 640 Filed 08/03/21 Page 10 of 22 Page ID #:12576

                                   United States Department of Justice
                                         United States Attorney’s Office
                                          Central District of California

  Alexander C.K. Wyman                                     1100 United States Courthouse
  Phone: (213) 894-2435                                    312 North Spring Street
  E-mail: alex.wyman@usdoj.gov                             Los Angeles, California 90012



 August 2, 2021

 VIA E-MAIL

  H. Dean Steward
  107 Avenida Miramar, Suite C
  San Clemente, California 92672
  deansteward7777@gmail.com

         Re:     United States v. Michael Avenatti,
                 SA CR No. 19-61-JVS


 Dear Mr. Steward:

 We have previously provided you and your client with government’s Trial Exhibits 457 and 460
 through 468. These are summary exhibits that the government intends to introduce, and offer for
 admission pursuant to Federal Rule of Evidence 1006, through the government’s summary
 witness, IRS-CI Special Agent Steve Bellis. To avoid any disputes regarding the admissibility of
 the underlying documents, we are providing here the bates ranges of the documents underlying
 those charts, as well as of the custodian-of-record declarations accompanying those records:

                                            Exhibit 457

  Bates Numbers of Underlying Documents               Bates Numbers of Custodian Declarations
  USAO_00025810                                       Trial Exhibit 394, page 2
  USAO_00025814                                       Trial Exhibit 394, page 2
  USAO_00028271                                       Trial Exhibit 394, page 2
  USAO_00029628                                       Trial Exhibit 394, page 2
  USAO_00029887                                       Trial Exhibit 394, page 2
  USAO_00029905                                       Trial Exhibit 394, page 2
  USAO_00029909                                       Trial Exhibit 394, page 2
  USAO_00042603                                       Trial Exhibit 397, pages 3–4
  USAO_00042715                                       Trial Exhibit 397, pages 3–4
  USAO_00033123                                       Trial Exhibit 394, page 2
  USAO_00033130                                       Trial Exhibit 394, pages 3–4
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                                    Exhibit 460

  Bates Numbers of Underlying Documents    Bates Numbers of Custodian Declarations
  USAO_00026565                            Trial Exhibit 394, page 2
  USAO_00026583                            Trial Exhibit 394, page 2
  USAO_00026586                            Trial Exhibit 394, page 2
  USAO_00026590                            Trial Exhibit 394, page 2
  USAO_00026598                            Trial Exhibit 394, page 2
  USAO_00026603                            Trial Exhibit 394, page 2
  USAO_00026610                            Trial Exhibit 394, page 2
  USAO_00026632                            Trial Exhibit 394, page 2
  USAO_00026655                            Trial Exhibit 394, page 2
  USAO_00026690                            Trial Exhibit 394, page 2
  USAO_00026702                            Trial Exhibit 394, page 2
  USAO_00026707                            Trial Exhibit 394, page 2
  USAO_00026715                            Trial Exhibit 394, page 2
  USAO_00026717                            Trial Exhibit 394, page 2
  USAO_00026744                            Trial Exhibit 394, page 2
  USAO_00026763                            Trial Exhibit 394, page 2
  USAO_00026777                            Trial Exhibit 394, page 2
  USAO_00026814                            Trial Exhibit 394, page 2
  USAO_00026835                            Trial Exhibit 394, page 2
  USAO_00026842                            Trial Exhibit 394, page 2
  USAO_00026850                            Trial Exhibit 394, page 2
  USAO_00026918                            Trial Exhibit 394, page 2
  USAO_00026931                            Trial Exhibit 394, page 2
  USAO_00026944                            Trial Exhibit 394, page 2
  USAO_00026959                            Trial Exhibit 394, page 2
  USAO_00026966                            Trial Exhibit 394, page 2
  USAO_00026970                            Trial Exhibit 394, page 2
  USAO_00026975                            Trial Exhibit 394, page 2
  USAO_00026979                            Trial Exhibit 394, page 2
  USAO_00026981                            Trial Exhibit 394, page 2
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  Bates Numbers of Underlying Documents   Bates Numbers of Custodian Declarations
  USAO_00026987                           Trial Exhibit 394, page 2
  USAO_00026994                           Trial Exhibit 394, page 2
  USAO_00027005                           Trial Exhibit 394, page 2
  USAO_00027051                           Trial Exhibit 394, page 2
  USAO_00027055                           Trial Exhibit 394, page 2
  USAO_00027091                           Trial Exhibit 394, page 2
  USAO_00027096                           Trial Exhibit 394, page 2
  USAO_00027100                           Trial Exhibit 394, page 2
  USAO_00027106                           Trial Exhibit 394, page 2
  USAO_00027112                           Trial Exhibit 394, page 2
  USAO_00027115                           Trial Exhibit 394, page 2
  USAO_00027118                           Trial Exhibit 394, page 2
  USAO_00027124                           Trial Exhibit 394, page 2
  USAO_00027138                           Trial Exhibit 394, page 2
  USAO_00027140                           Trial Exhibit 394, page 2
  USAO_00027143                           Trial Exhibit 394, page 2
  USAO_00027169                           Trial Exhibit 394, page 2
  USAO_00027202                           Trial Exhibit 394, page 2
  USAO_00029622                           Trial Exhibit 394, page 2
  USAO_00029628                           Trial Exhibit 394, page 2
  USAO_00029630                           Trial Exhibit 394, page 2
  USAO_00029881                           Trial Exhibit 394, page 2
  USAO_00029883                           Trial Exhibit 394, page 2
  USAO_00029887                           Trial Exhibit 394, page 2
  USAO_00029889                           Trial Exhibit 394, page 2
  USAO_00029895                           Trial Exhibit 394, page 2
  USAO_00029899                           Trial Exhibit 394, page 2
  USAO_00029905                           Trial Exhibit 394, page 2
  USAO_00029909                           Trial Exhibit 394, page 2
  USAO_00033123                           Trial Exhibit 394, page 2
  USAO_00033130                           Trial Exhibit 394, pages 3–4
  USAO_00033291                           Trial Exhibit 394, pages 3–4
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  Bates Numbers of Underlying Documents    Bates Numbers of Custodian Declarations
  USAO_00033301                            Trial Exhibit 394, pages 3–4
  USAO_00034133                            Trial Exhibit 394, pages 3–4
  USAO_00034139                            Trial Exhibit 394, pages 3–4
  USAO_00042580                            Trial Exhibit 397, pages 3–4
  USAO_00042712                            Trial Exhibit 397, pages 3–4
  USAO_00042795                            Trial Exhibit 397, pages 3–4

                                    Exhibit 461

  Bates Numbers of Underlying Documents    Bates Numbers of Custodian Declarations
  USAO_00024592                            Trial Exhibit 394, page 2
  USAO_00024607                            Trial Exhibit 394, page 2
  USAO_00024608                            Trial Exhibit 394, page 2
  USAO_00024629                            Trial Exhibit 394, page 2
  USAO_00025039                            Trial Exhibit 394, page 2
  USAO_00025041                            Trial Exhibit 394, page 2
  USAO_00025051                            Trial Exhibit 394, page 2
  USAO_00025996                            Trial Exhibit 394, page 2
  USAO_00029580                            Trial Exhibit 394, page 2
  USAO_00029594                            Trial Exhibit 394, page 2
  USAO_00029838                            Trial Exhibit 394, page 2
  USAO_00029841                            Trial Exhibit 394, page 2
  USAO_00029844                            Trial Exhibit 394, page 2
  USAO_00029853                            Trial Exhibit 394, page 2
  USAO_00029858                            Trial Exhibit 394, page 2
  USAO_00029859                            Trial Exhibit 394, page 2
  USAO_00029905                            Trial Exhibit 394, page 2
  USAO_00033123                            Trial Exhibit 394, page 2
  USAO_00033130                            Trial Exhibit 394, pages 3–4
  USAO_00034145                            Trial Exhibit 394, pages 3–4
  USAO_00042527                            Trial Exhibit 397, pages 1–2
  USAO_00042702                            Trial Exhibit 397, pages 3–4
  USAO_00042706                            Trial Exhibit 397, pages 3–4
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  Bates Numbers of Underlying Documents             Bates Numbers of Custodian Declarations
  USAO_00163767                                     USAO_00163714-USAO_00163715

                                         Exhibits 462–468

  Bates Numbers of Underlying Documents             Bates Numbers of Custodian Declarations
  USAO_00009841-USAO_00009881                       USAO_00009811 and USAO_00011126
  USAO_00009916-USAO_00010597                       USAO_00009811 and USAO_00011126
  USAO_00135176                                     USAO_0123134-USAO_00123135
  USAO_00135177                                     USAO_0123134-USAO_00123135
  USAO_00135175                                     USAO_0123134-USAO_00123135

 Please let us know if you dispute the admissibility of any of these underlying records pursuant to
 the business records exception in Federal Rules of Evidence 803(6) and 902(11), or if you object
 to the admission of Exhibits 457 and 460 through 468 pursuant to Federal Rule of Evidence
 1006. We intend to file this correspondence, along with copies of the custodian-of-record
 declarations and underlying records, with the Court.

 Please let us know if you have any questions, or would like to further discuss any of the matters
 raised above.

 Very truly yours,



 ALEXANDER C.K. WYMAN
 Assistant United States Attorney
 Major Frauds Section

 cc:    AUSA Brett Sagel
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                        EXHIBIT B
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               EXHIBIT C
           (Lodged Manually
              with Court)
